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                Exhibit 3
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Page 1 - (below) History of invoices/business with A. Matalucci & Son Memorial
Pages 2 - 4 Invoice details. Note: Subscription to older/legacy edition of Online Catalog & Designer.
Page 5 - Account creation and last login.
Page 6 - Account setup, credit card, etc. (2017)
Page 7 - List of invoices paid via Stripe.com for new Online Catalog & Monument Designer.
Page 8 - Three cancellations and three reactivations.
Page 9 - 2019 one technical issue and resolution.
Page 10 - March 9, 2020, Matalluci forgot to cancel, granted Matalucci a refund as requested.
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